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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


    IN RE: GENENTECH, INC.,                           )
    HERCEPTIN (TRASTUZUMAB)                           ) MDL DOCKET NO. 16-MD-2700
    MARKETING AND SALES                               )
    PRACTICES LITIGATION                              )


                                      OPINION AND ORDER

          Before the Court is the Amended Motion for Summary Judgment Based on Federal

   Preemption (Doc. 201) filed by defendant Genentech, Inc. (“Genentech”). Plaintiffs oppose the

   motion.

   I. Introduction

          Genentech manufactures, markets and distributes Herceptin® (hereafter, “Herceptin”), a

   biologic drug used to treat breast cancer. Plaintiffs are cancer treatment providers who have

   purchased Herceptin for treatment of their patients. Plaintiffs do not challenge the efficacy or

   safety of the drug, but contend that Herceptin’s labeling is misleading because, although the

   Herceptin label states that each vial contains 440 mg of Herceptin at a concentration of 21 mg/mL,

   not every vial contains that amount or more. They assert California state law claims for breach of

   express and implied warranties and unjust enrichment, and they seek actual damages, costs and

   attorneys’ fees. Doc. 45 at 13-20. Genentech, in its Motion for Summary Judgment, contends that

   Plaintiffs’ claims are preempted by federal law.
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   II. Background

           Federal law gives the Food and Drug Administration (“FDA”) the authority and

   responsibility to regulate prescription drugs. See 21 U.S.C. § 301 et seq. The FDA regulates

   virtually every aspect of the manufacturing, distribution, evaluation and labeling of drugs marketed

   and sold in the United States. See Bruesewitz v. Wyeth LLC, 562 U.S. 223, 237 (2011) (noting

   pervasive regulation of vaccine licensing). The FDA drug approval process is “onerous and

   lengthy.” Mutual Pharm. Co., Inc. v. Bartlett, 570 U.S. 472, 476 (2013).

           Biologics 1 such as Herceptin are similarly regulated. See 21 U.S. § 321(g)(1). Before a

   biologic product can be distributed, the FDA must approve the sponsor’s biologic license

   application (“BLA”). 21 U.S.C. § 355(b), 42 U.S.C. §262(a). The BLA contains “specifications”

   for the product, which establish criteria for determining whether each lot of the biologic

   satisfactorily conforms to the drug product, as approved by the FDA. 21 C.F.R. § 211.165(a). It

   also includes data from studies showing that the product meets prescribed requirements for safety,

   purity and potency; a full description of manufacturing methods; data establishing product

   stability; samples of the product, labeling, and containers; and summaries of product test results.

   Id., §§ 601.2(a), 600.3(kk). Manufacturers of biologic products are required to test each lot of the

   product for, inter alia, potency, safety, purity and sterility. Id., §§ 610.10, 610.12-14. If a lot does

   not meet the specifications, it cannot be distributed to the public and must be rejected. Id., §

   211.165(f).

           The FDA will approve a BLA only if it determines that the manufacturer’s biological

   product and facilities comply with federal regulations. Id., § 601.4. Essentially, a biologics license




   1
    Biologics are drugs made from complex molecules manufactured using living microorganisms,
   plants or animal cells.
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   reflects the FDA’s determination that the product is safe, pure and effective, and that the

   manufacturer’s facilities and processes are adequate to meet these high standards. Id., § 601.2(d).

          The biologic product’s accompanying labeling must also conform to federal law. 21 U.S.C.

   §§ 331(a), 352; 21 C.F.R. § 601.2(a). The FDA will approve a BLA only if it finds that the drug

   is “safe for use” under the conditions “prescribed, recommended, or suggested in the proposed

   labeling,” and it will approve the labeling only if it is not “false or misleading in any particular.”

   21 U.S.C. § 355(d)(1) & (7).

          Additionally, applicants must notify the FDA about “each change in the product,

   production process, quality controls, equipment, facilities, responsible personnel, or labeling

   established in the approved license application(s).” 21 C.F.R. § 601.12(a). Prior FDA approval is

   usually required for labeling changes, particularly if the proposed change would affect the

   information that must appear in the Highlights of Prescribing Information section of the physician

   package insert. Id., § 601.12(f)(1) (citing § 201.57(a)).

   III. Statement of Undisputed Material Facts

          Twenty to thirty percent of breast cancers are known to have amplification of a growth

   factor receptor gene known as HER2, and women whose breast cancers have a high level of

   expression of this gene have a shortened survival rate. Doc. 201-2, Def. Ex. 2 at 7. Herceptin—

   known generically as trastuzumab—is a prescription drug that helps stop the cancer’s growth by

   targeting HER2 protein. Doc. 201-1, Def. Ex. 1 at 2. Trastuzumad’s effect in fighting this

   aggressive form of cancer has been described as “dramatic,” and trials have shown that addition

   of the drug to chemotherapy “resulted in a remarkable 50% reduction in disease recurrence

   compared with patients receiving chemotherapy alone.” Doc. 201-3, Def. Ex. 3 at 3, Korkaya, H.,




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   et al., HER2 and Breast Cancer Stem Cells: More than Meets the Eye, 73 Cancer Research 3489-

   93 (June 15, 2013)).

          Herceptin is a biologic product produced from living organisms—namely, Chinese hamster

   ovary cells that have been genetically modified to produce trastuzumab, the active ingredient. Doc.

   201-5, Def. Ex. 5, Dec. of Dr. David T. Lin, ¶30; Doc. 201-6, Def. Ex. 6, Dec. of Dana L. Swisher,

   ¶¶ 5-7. Its production begins in large bioreactor tanks with modified cells replicating in a culture

   medium and producing trastuzumab. Id., Swisher Dec., ¶ 7. Eventually, the protein trastuzumab

   is harvested from the cells, a process involving several purification steps to remove cell debris and

   other unwanted elements. Id. The resulting protein solution is referred to as the “drug substance.”

   Id. The drug substance is tested to ensure the protein concentration is within the FDA-approved

   range of 25 milligrams per milliliter (mg/mL), plus or minus 1 mg/mL. Id., ¶ 8. If the drug

   substance concentration is outside the approved range, the batch is rejected. Id. If it is within the

   approved range, it is frozen for storage and shipping. Id.

           Tanks of frozen Herceptin drug substance are shipped to manufacturing facilities, where

   they are thawed and tested again to ensure the concentration is still within the FDA-approved range

   of 25 mg/mL ± 1mg/mL. Id., ¶9. From there, one or more tanks of Herceptin substance may be

   pooled. Id. Generally, the next step prior to filling is sterile filtration. Id., ¶10. During this step,

   the drug substance passes through a sterilization-grade filter and on to the fill line. Id. The drug

   substance is then filtered, sterilized and dispensed into glass vials by filling machines. Id., ¶ 11.

   The target fill weight for each vial is 17.92 grams, but the FDA-approved acceptable outer range

   is 17.56 to 18.28 grams, i.e. 17.92 g ± 2%. Id. A range around the target fill weight of 17.92

   grams is necessary because the filling equipment is incapable of filling every vial with precisely

   17.92 grams. Id.



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          The vials of drug substance are lyophilized or freeze-dried, removing most of the water

   and leaving what is known as the Herceptin “cake,” comprised of the dry solid protein and some

   inactive ingredients. Id., ¶12. The FDA-approved specification for protein content of the drug

   product is 440 mg± 35mg/mL per vial. Id., ¶12. After the vials are filled and sealed, sample vials

   are submitted to Quality Control, where they undergo final testing prior to release for distribution.

   Id., ¶13. The sample vials are identified in the Certificate of Analysis (“COA”). Id. The protein

   content of the vials is tested in accordance with protocol Q12398. Id. ¶¶13, 16.

          Because the precise concentration of the drug substance and the precise fill weight varies

   from batch to batch, the weight of the Herceptin cake in each vial will also vary in a range around

   440 mg. Id., ¶ 14. When shipped, each vial of Herceptin is accompanied by a vial of sterile water

   that providers use to dissolve the powder cake—a process known as reconstitution. Id., Doc. 201-

   1, Ex. 1, Highlights of Prescribing Information.

          The FDA approved the BLA for Herceptin on September 25, 1998. Doc. 201-4, Def. Ex.

   4. The BLA provides for Herceptin drug substance concentrations within a range of 25 mg/mL ±

   1mg/mL and drug product levels within a range of 440 mg ± 35 mg. Id. The FDA also approved

   Herceptin labeling that claimed 440 mg per vial, recognizing in subsequent correspondence with

   Genentech that the “expected recovery from each vial is approximately 19 mL or 400 mg.” Doc.

   377-1, Def. Ex. 13. Additionally, in 1999, the FDA drafted a letter to providers explicitly referring

   to the fact that the vials were designed to deliver 400 mg. Doc. 201-5, Def. Ex. 5, Lin Dec., ¶¶47-

   49 (citing Def. Ex. 13, supra). US Pharmacopeia (“USP”) General Chapter ˂905˃, Uniformity of

   Dosage Units, provides for an allowable variation of 15 percent from the stated weight. Id., Lin

   Dec., ¶ 29 and Ex. D thereto, p. 494, Table 2.




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           Plaintiffs’ own data show that:

       •   Herceptin drug substance concentrations have always complied with the FDA-approved
           range of 25 mg/mL ± 1 mg/mL, and

       •   Herceptin drug product levels always complied with the FDA-approved range of 440 mg±
           35 mg.

   Doc. 368, Pls.’ SOF 5, 10, 26.

           The term “nominal” in prescription drug labeling refers to a “theoretical” amount, signaling

   that the actual amount in each vial will vary. Doc. 201-5, Def. Ex. 5, Lin Dec., ¶ 36; Doc 377-2,

   Def. Ex. 14 at 145:20-146:8.

           The Prescribing Information 2 states that Herceptin is shipped in multi-dose vials

   “nominally containing 440 mg Herceptin as a lyophilized, sterile powder.” Doc. 201-1, Def. Ex.

   1, Highlights of Prescribing Information at 1. Similarly, the carton for each vial states that “the

   nominal content of each HERCEPTIN vial is 440 mg Trastuzumab.” Id., Doc. 201-7, Def. Ex. 7.

   This description in labeling is consistent with the FDA-approved specification of 440 mg ± 35 mg

   and the variability permitted under FDA regulations. Id.

            The Herceptin carton and vial labels state that reconstitution will “yield a multiple-dose

   solution containing approximately 21 mg/mL Trastuzumab.” 201-7, Def. Ex. 7; Doc. 201-8, Def.

   Ex. 8. The concentration is “approximately” 21 mg/ml because the actual concentration depends

   on the amount of Herceptin in each vial, which varies, and the amount of sterile water a provider

   injects during reconstitution, which also varies. Doc. 201-5, Def. Ex. 5, Lin Dec., ¶¶ 38-40, 43.

   Additionally, each vial of Herceptin contains a residual and variable amount of moisture—up to

   three percent—that may be lost over time due to absorption by the stopper on the vial. Id., ¶ 33.



   2
     Prescribing Information is a detailed description of a drug’s uses, dosage range, side effects,
   drug-drug interactions and contraindications that is available to clinicians and included in
   pharmaceutical packaging instructions.
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          For each year from 2000 through 2008, a majority of the Herceptin batches released in the

   United States contained at least 440 mg of trastuzumab. Doc. 368 at 16, Pls. SOF 10. In 2000,

   2001, and 2006, more than 82 percent of Herceptin batches contained at least 440 mg of

   trastuzumab, and in 1998 and 2005, 100 percent of batches met or exceeded the label claim. Id.

   Pls.’ SOF 11. However, the proportion of batches containing at least 440 mg of trastuzumab

   dropped below 50 percent by 2009 and has not exceeded 50 percent since then. Id., Pls. SOF 10.

   Only one of the 125 batches tested in the three-year period of 2012-2014 contained at least 440

   mg of trastuzumab per vial, and in 2012 and 2014, none of the 89 Herceptin batches tested

   contained 440 mg or more. Id., Pls. SOF 10-11, 14. Nevertheless, at no time from 1998 to 2017

   did any batch contain less than the lower limit of 405 mg of trastuzumab approved by the FDA.

   Doc. 201-6, Def. Ex. 6, Swisher Dec., ¶14.

          Between the FDA’s initial approval of Herceptin on September 25, 1998, and February 3,

   2017, the FDA approved more than 10 supplemental applications from Genentech proposing

   revisions to the Herceptin Prescribing Information without ever directing Genentech to change the

   description of net weight or concentration. Doc. 201-5, Def. Ex. 5, Lin Dec., ¶ 50. For example,

   on October 12, 2012, Genentech submitted a prior approval supplement to the FDA requesting

   approval for the Hillsboro Technical Operations manufacturing facility to manufacture 440 mg

   vials. Doc. 377-13, Def. Ex. 25. The supplement included data on three qualification batches of

   Herceptin drug product, and the protein content for all three batches was below 440 mg. Doc. 377-

   14, Def. Ex. 26. The FDA approved the supplement on February 14, 2013. Doc. 377-15, Def. Ex.

   27. On June 6, 2014, the FDA approved a supplement for a manufacturing facility, that also

   included data on three qualification batches for which the protein content was below 440 mg. Doc.

   377-16, Def. Ex. 28.



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          In March 2014, the FDA published a Draft Guidance for Industry Allowable Excess

   Volume and Labeled Vial Fill Size in Injectable Drug and Biological Products. Doc. 370-31, Pls.

   Ex. 31.    The Draft Guidance stated that “with respect to allowable excess volume, the

   sponsor/applicant of drugs in ampules or vials, intended for injection must follow the requirements

   in 21 CFR 201.51(g).” 3 The Draft Guidance was finalized in June 2015. Doc. 370-34, Pls. Ex. 34.

          On October 30, 2014, after the FDA received complaints from an unidentified oncology

   pharmacy specialist and other oncology institutions about the inability of end users to withdraw a

   full 21 mL volume from a vial of Herceptin, FDA and Genentech representatives conducted a

   teleconference. Doc. 201-9, Def. Ex. 9 at 2. During the teleconference, the FDA asked Genentech

   to provide a formal written response addressing the FDA’s concerns regarding labeling of the

   Herceptin 440 mg multi-dose vial. Id. at 4. 4 The FDA also proposed that in order to provide further

   clarity, the Herceptin 440 mg label should be revised to reflect the maximum amount that can be

   withdrawn from the vial, in accordance with the agency’s interpretation of 21 C.F.R. § 201.51(g),

   as reflected in the 2014 Draft Guidance for Industry: Allowable Excess Volume and Labeled Vial

   Fill Size in Injectable Drug and Biological Products, March 2014. Doc. 201-9, Def. Ex. 9, Resp.

   to FDA’s Comments Regarding Herceptin 440 mg Multi-Dose Vial Fill at October 3, 2014

   Teleconference, at pp. 3-4.




   3
    21 C.F.R. 51(g) states, in pertinent part, “In the case of a liquid drug in ampules or vials, intended
   for injection, the declaration shall be considered to express the minimum quantity. . . (emphasis
   added).
   4
     Plaintiffs contend in their Statement of Facts that the FDA “told Genentech ‘several times’ that
   the Herceptin 440 mg labeling was ‘misleading.” Doc. 368 at 33. To clarify, however, the Court
   notes that the FDA made all such statements during the October 30, 2014, teleconference between
   FDA representatives and Genentech personnel, and it appears that this was the first time FDA ever
   raised such concerns. Doc. 370-54, Pls.’ Ex. 54 at 3.
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          Approximately a month later, in its December 5, 2014, response, Genentech proposed the

   addition of language stating that recovery of Herceptin may be lower when the 440 mg vial is used

   as a multi-use vial. Id. at 4-5. The FDA did not reply to Genentech’s response until February 3,

   2017—more than two years after Genentech submitted proposed labeling changes. Doc. 201-10,

   Def. Ex. 10. During that time, in April 2015 and March 2016, it approved two unrelated labeling

   supplements that did not change the way net contents were described. Doc. 201-5, Def. Ex. 5, Lin

   Decl., ¶¶ 58, 71 n. 68.

          In its February 3, 2017, Advice Letter, the FDA disagreed with Genentech’s proposed

   labeling changes and directed the company to submit a plan to address revision of the labeling

   from 440 mg per vial to 420 mg per vial on all labeling and to prepare a communication plan to

   educate healthcare practitioners on the labeling change. Doc. 201-10, Def. Ex. 10.

          Genentech submitted a response to the letter on February 10, 2017. Id., Doc. 201-11, Def.

   Ex. 11. In its response, Genentech agreed to “update the Herceptin USPI of the previously referred

   to as the ‘440 mg’ strength to the 420 mg strength that reflects the minimally recoverable volume

   for the Herceptin vial presentation;” to “commit to providing updated carton/container labeling as

   a Post-Marketing Commitment,” and to “provide an updated communication plan at the time the

   revised carton/container are submitted.” Id. The FDA approved the supplemental BLA the same

   day. Id., Doc. 201-12, Def. Ex. 12.

          If Genentech were required to ensure that every vial contained exactly (or at least) 440 mg

   of Herceptin, it would have to either change its manufacturing processes—including filling and

   lyophilization, and possibly the amount of diluent for reconstitution—and seek FDA approval for

   a protein content specification that deviates from the currently approved range of 440 mg ± 35




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    mg., or—as Plaintiffs suggest—stop selling vials that fail to meet the approved range. Doc. 201,

    Def. Ex. 6, Swisher Dec., ¶ 15; Doc 368 at 68-69.

           The manufacture of Herceptin is an aseptic (sterile) processing operation, and substituting

    steps in an aseptic processing operation is a “major change” requiring FDA approval. Doc. 377,

    Ex. 17, U.S. BLA Herceptin, GENE-FL0000000527-529, 55521; C.F.R.§ 601.12(b)(2)(vi).

    Moreover, changing the target fill rate, which is an in-process specification identified in the BLA,

    also requires prior FDA approval. Doc. 377, Def. Ex. 14, Lin Dep. at 151:1-25; 21 C.F.R. §

    601.12(b)(2)(i) (referencing changes in qualitative or quantitative formulation or in the

    specifications provided in the approved application). See also 21 C.F.R. §211.110(a)(), (b)

    (referencing “in-process specifications” applicable to drug product “weight variation”); Ex. 22,

    FDA Guidance for Industry, Changes to an Approved NDA or ANDA, Questions and Answers, at

    9 (Jan. 2001) (“A change in the fill volume of a drug product involves a change to the specification

    and must be submitted in a prior approval supplement.”).

    IV. Standard for Summary Judgment

           Summary judgment is proper only if “there is no genuine issue as to any material fact, and

    the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). The moving

    party bears the burden of showing that no genuine issue of material fact exists. See Zamora v.

    Elite Logistics, Inc., 449 F.3d 1106, 1112 (10th Cir. 2006). The Court resolves all factual disputes

    and draws all reasonable inferences in favor of the non-moving party. Id. However, the party

    seeking to overcome a motion for summary judgment may not “rest on mere allegations” in its

    complaint but must “set forth specific facts showing that there is a genuine issue for trial.” Fed.

    R. Civ. P. 56(e). The party seeking to overcome a motion for summary judgment must also make




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    a showing sufficient to establish the existence of those elements essential to that party’s case. See

    Celotex Corp. v. Catrett, 477 U.S. 317, 323-33 (1986).

    V. Preemption Law

           Preemption analysis requires the court to compare federal and state law. PLIVA, Inc. v.

    Mensing, 564 U.S. 604, 611 (2011). If a private party cannot comply with state law without first

    obtaining the approval of a federal regulatory agency, the application of the state law to that private

    party is preempted. Id. at 620 (stating that “[t]he question for ‘impossibility’ is whether the private

    party could independently do under federal law what state law requires of it.”).          The Court’s

    “inquiry into the scope of a [federal] statute’s pre-emptive effect is guided by the rule that the

    purpose of Congress is the ultimate touchstone in every pre-emption case.” Hughes v. Talen

    Energy Mktg., LLC, 136 S. Ct. 1288, 1297 (2016) (citing U.S. Const., Art. VI, cl. 2 and Altria

    Group, Inc. v. Good, 555 U.S. 70, 76 (2008)).

           Preemption may be express or implied. Implied preemption may take the form of either

    obstacle preemption—which is applicable if state law “stands as an obstacle to the accomplishment

    and execution of the full purposes and objectives of Congress”—or impossibility preemption—

    which is applicable if it would be “impossible for a private party to comply with both state and

    federal requirements.” In re Universal Service Fund Telephone Billing Practice Litig., 619 F.3d

    1188, 1196 (10th Cir. 2010). The federal requirements may be imposed by federal statutes or

    regulations. See Fid. Fed. Sav. & Loan Ass’n. v. de la Cuesta, 458 U.S. 141, 153 (1982). The

    state law subject to preemption may be state statutes, regulations, or duties imposed by tort claims

    or other court actions. See Riegel v. Medtronic, Inc., 552 U.S. 312, 324-25 (2008); Geier v.

    American Honda Motor Co., Inc., 529 U.S. 861, 881 (2000).

           Impossibility preemption is applicable when a private party cannot “independently do

    under federal law what state law requires of it.” PLIVA, Inc. v. Mensing, 564 U.S. 604, 620 (2011)
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    (citing Wyeth v. Levine, 555 U.S. 555, 573 (2009) (emphasis added)). In other words, “[i]f a private

    party . . . cannot comply with state law without first obtaining the approval of a federal regulatory

    agency, then the application of that law to that private party is preempted.” Gustavsen v. Alcon

    Laboratories, 903 F.3d 1, 9-10 (lst Cir. 2018).

    VI. Analysis

           Plaintiffs’ Third Amended Complaint alleges Genentech has breached warranties and

    violated California consumer protection statutes by falsely claiming that (1) each Herceptin vial

    contains 440 mg of trastuzumab; (2) if a vial of Herceptin is reconstituted according to defendant’s

    instructions, it will yield a solution with a concentration of 21 mg/mL of trastuzumab (the

    “Solution”); and (3) each vial of reconstituted Herceptin contains 20.952 mL of solution. Plaintiffs

    challenge the accuracy of Herceptin’s labeling concerning the amount of trastuzumab in the vials,

    whether measured as weight, volume or weight per milliliter. 5

           Genentech contends that Plaintiffs’ claims are impliedly preempted because they seek to

    impose (1) a state-law requirement that would stand as an obstacle to the federal regulatory

    scheme, which recognizes reasonable variation in manufacturing and labeling must be allowed

    (i.e., “obstacle preemption”) and (2) a state-law duty on Genentech to change either its

    manufacturing processes or its Herceptin labeling, neither of which it can do under federal law

    without prior FDA approval (“impossibility preemption”).

           Specifically, Genentech argues Plaintiffs’ state-law claims present an obstacle to the

    federal regulatory scheme for branding of prescription drugs—i.e., 21 U.S.C. § 352(b) and 21




    5
     Milligrams (mg) measure weight, and one mg is 1/1000 of a gram; milliliters (ml) measure
    volume of liquid, and one ml is 1/1000 of a liter; and mg/mL measures milligrams per milliliter.


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    C.F.R. § 201.51(g). 6 It asserts that (1) Herceptin complies with federal labeling laws, which allow

    for reasonable variations in manufacture and labeling; and (2) Plaintiffs may not use state law

    claims to impose a more stringent standard than federal law allows. Additionally, Genentech

    contends that Plaintiffs’ claims are barred by impossibility preemption because, in order to meet

    Plaintiffs’ demands, it would have to change either the product labeling or the reconstituted

    solution volume—both of which would require FDA approval.

             Plaintiffs, however, argue that neither obstacle preemption nor impossibility preemption

    bar their claims because the FDA has incorrectly regulated Herceptin as a “solid drug” rather than

    a “liquid drug;” the FDA’s 2014 Draft Guidance stating that the labeling of all injectable drugs,

    including those reconstituted from a solid, should be applied retroactively; and Herceptin did not



    6
        21 U.S.C. § 352(b) states that a drug shall be deemed misbranded--:

             If in package form unless it bears a label containing . . . (2) an accurate statement
             of the quantity of the contents in terms of weight, measure, or numerical count:
             Provided, That under clause (2) of this paragraph reasonable variations shall be
             permitted, and exemptions as to small packages shall be established, by regulations
             prescribed by the Secretary. (emphasis added).

    21 C.F.R. § 201.51(g) states:

             The declaration of net quantity of contents shall express an accurate statement of
             the quantity of contents of the package. Reasonable variations caused by loss or
             gain of moisture during the course of good distribution practice or by unavoidable
             deviations in good manufacturing practice will be recognized. Variations from
             stated quantity of contents shall not be unreasonably large. In the case of a liquid
             drug in ampules or vials, intended for injection, the declaration shall be considered
             to express the minimum quantity and the variation above the stated measure shall
             comply with the excess volume prescribed by the National Formulary or the U.S.
             Pharmacopeia for filling of ampules. In the case of a solid drug in ampules or
             vials, the declaration shall be considered to express the accurate net weight.
             Variations shall comply with the limitations provided in the U.S.
             Pharmacopeia or the National Formulary. (emphasis added).




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    meet § 201.51(g)’s allowance for “[r]easonable variations caused by loss or gain of moisture

    during the course of good distribution practice or by unavoidable deviations in good

    manufacturing.”

            A. Obstacle Preemption

            Genentech argues all of Plaintiffs’ claims are barred because they impose an obstacle to

    the FDA’s “reasonable variations” determination and are inconsistent with federal law. Plaintiffs

    assert obstacle preemption is inapplicable because (1) their claims do not conflict with federal law;

    (2) Genentech is violating federal law; and (3) even if the Court grants summary judgment on their

    net weight claims, their concentration and solution volume claims should survive, because neither

    obstacle preemption nor impossibility preemption apply to the remaining two claims.

                    1. Plaintiffs’ Claims Impose an Obstacle to the
                       FDA’s “Reasonable Variations” Determination

            Federal law prohibits the manufacture, introduction or delivery of any drug that is

    adulterated or “misbranded.” 21 U.S.C. § 331(a), (g) (emphasis added).

            Although package labels must contain “an accurate statement of the quantity of the contents

    in terms of weight, measure, or numerical count,” the applicable statute permits “reasonable

    variations” pursuant to regulations prescribed by the FDA.         21 U.S.C. § 352(b)(2).      FDA

    regulations, in turn:

        •   permit “reasonable variations caused by loss or gain of moisture during the course of good
            distribution practice or by unavoidable deviations in good manufacturing practice;”

        •   provide that, “in the case of a solid drug in ampules or vials, the declaration shall be
            considered to express the accurate net weight;” and

        •   state that “[v]ariations shall comply with the limitations provided in the U.S. Pharmacopeia
            or the National Formulary.”

    21 C.F.R. § 201.51(g). Id.


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            With respect to packaged food and drugs, the Supreme Court has recognized there is no

    way to completely eliminate variations in weight, and that to require strict precision would make

    it impossible to sell packaged products. In Jones v. Rath Packing Co., it stated:

            It being apparent to everyone that it is impossible to make packages of exactly the
            same size or to pack them with exactly the same quantity of contents, and it being
            also apparent that the exact weight and measure of the contents of a package may
            undergo slight changes from natural causes, it is also apparent that legislation
            requiring similar packages to contain the same exact quantity in term of weight or
            measure, without allowing for any variation, would be destructive and prevent the
            putting of foods in packages.

    430 U.S. 519, 5367, n.28 (1977) (quoting H.R. Rep. No. 850, 62d Cong., 2d Sess., at 2; S. Rep.

    No. 1216, 62d Cong., 3d Sess., at 2-3). In Jones, a meat processor and flour millers argued a

    California statute and regulation pertaining to the labeling by weight of packaged foods were

    preempted by federal laws regulating net weight labeling. The Court interpreted those regulations

    to mean that “[u]nder the FDCA, reasonable variations from the stated net weight do not subject

    [the defendant] to prosecution, whether civil or criminal, if the variations arise from the permitted

    causes.” Id. at 536 (emphasis added). The Court stated:

            Since 1914, regulations under the food and drug laws have permitted reasonable
            variations from stated net weight resulting from packing deviations or gain or loss
            of moisture occurring despite good commercial practice. If Congress had intended
            to overrule this longstanding administrative practice, founded on a legislative
            statement of necessity, we would expect it to have done so clearly. Instead, it
            explicitly preserved existing law, with “no changes.”

    Id. at 537.    Accordingly, the Court held that enforcement of more stringent state law was

    preempted because it would “prevent the accomplishment and execution of the full purposes and

    objectives of Congress . . .” Id. at 543.

            FDA regulations provide that the labeling for a prescription drug must include a statement

    of the net quantity of contents. 21 C.F.R. § 201.51(a). The declaration of net quantity allows for

    reasonable variations because of loss or gain of moisture during the course of good distribution

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    practice and unavoidable deviations in good manufacturing practice. Id., §210.51(g). The

    variations must comply with the limitations of the USP or the National Formulary. Id.

           The description of the net quantity of contents required by FDA regulations depends on

    how the drug is supplied. Injectable drug products may be liquids in the form of solutions,

    emulsions or suspensions, or dry solids that are to be combined with an appropriate liquid to yield

    a solution or suspension. 7 FDA net quantity labeling regulations distinguish between liquid and

    solid drugs:

           The declaration of net quantity of contents shall express an accurate statement of
           the quantity of contents of the package. Reasonable variations caused by loss or
           gain of moisture during the course of good distribution practice or by unavoidable
           deviations in good manufacturing practice will be recognized. Variations from
           stated quantity of contents shall not be unreasonably large. In the case of a liquid
           drug in ampules or vials, intended for injection, the declaration shall be considered
           to express the minimum quantity and the variation above the stated measure shall
           comply with the excess volume prescribed by the National Formulary or the U.S.
           Pharmacopeia for filling of ampules. In the case of a solid drug in ampules or
           vials, the declaration shall be considered to express the accurate net weight.
           Variations shall comply with the limitations provided in the U.S. Pharmacopeia or
           the National Formulary.

    21 C.F.R. § 201.51(g) (emphasis added). Thus, while the label for liquid drugs must express the

    minimum quantity, the label for Herceptin—a solid drug—is considered to express the “accurate

    net weight” of the drug.

           Here, as in Jones, Plaintiffs’ labeling claims conflict with federal law, which permits

    reasonable variations for solid drugs sold in vials. Nor is the Court swayed by Plaintiffs’ assertion

    that Wyeth v. Levine, 555 U.S. 555 (2009) compels a different conclusion. In Wyeth, the Supreme




    7
      Doc. 201-5, Ex. 5, Lin Dec., ¶26 (citing FDA Guidance for Industry (Draft), Safety
    Considerations for Container Labels and Carton Labeling Design to Minimize Medication Errors,
    p. 11, April 2013; FDA-CDER-SBIA Regulatory Education for Industry, Prescription Drug
    Labeling – Challenges and Issues: Common Deficiencies in Container Labels and Carton Labeling
    for Biological Products, November 2015.
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    Court held that a plaintiff’s failure-to-warn claims were not preempted because federal regulations

    allowed the manufacturer of an anti-nausea medication to unilaterally strengthen warnings on the

    medication. Id. at 568. Here, in contrast, the regulatory scheme expressly allows a range of

    “reasonable variations” for solid drugs sold in vials, and Plaintiffs’ state-law claims conflict with

    these regulations.

                   2. Plaintiffs’ Claims are Inconsistent with Federal Law

                           a. Herceptin is a Solid Drug

           Plaintiffs argue that Herceptin should be considered a “liquid drug” subject to the

    requirement that the label “express the minimum quantity” as a measure of volume, rather than as

    a “solid drug.” However, regulatory history establishes that the FDA has always considered

    Herceptin to be a “solid drug.” The FDA approved the BLA with a label that referenced a net

    weight of 440 mg and a fill weight specification allowing deviations both above and below 440

    mg. (Doc. 377-14, Def. Ex. 14, Dep. of David T. Lin, at 139:2-12 (“When [Herceptin] was

    approved in 1998, FDA treated it as a solid drug.”). Moreover, the FDA has repeatedly approved

    this labeling for nearly two decades, and when it approved the updated labeling in 2017, it inserted

    the phrase “for injection” next to the product name “HERCEPTIN® (trastuzumad),” 8 thereby

    reaffirming that it considers Herceptin to be a solid drug. Doc. 377-15, Def. Ex. 15. 9




    8
      The U.S. Pharmacopeia National Formulary distinguishes between drugs that are designated
    “injection” and those designated “for injection.” “Injection drugs” are “[l]iquid preparations that
    are drug substances or solutions thereof,” while “for injection drugs” are sold as “[d]ry solids that,
    upon the addition of suitable vehicles, yield solutions conforming in all respects to the
    requirements for injections. Doc. 372-10, Pls. Ex. 80 at 3.
    9
      Plaintiffs also argue that even if Herceptin is a “solid drug” for purposes of § 201.51(g),
    Genentech has not proven it exercised “good manufacturing practice” with respect to the drug
    product strength, the variations in Herceptin strength were reasonable, or variations below 440 mg
    of trastuzumab were caused by “unavoidable deviations in good manufacturing,” and therefore
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                            b. The FDA’s 2014 Draft Guidance is not Retroactive

            Plaintiffs also contend that the Court should give deference to the FDA’s conclusion in

    2014 that Herceptin labeling did not comply with the 2014 Draft Guidance, in which it stated that

    the labeling of all injectable products, including those reconstituted from a solid, must reflect the

    minimum quantity of drug product that can be withdrawn from the vial. However, this argument

    is based on Plaintiffs’ faulty premise that the Draft Guidance merely restated standards in place

    since the FDA originally approved Herceptin’s BLA in 1998. As the regulatory history of

    Herceptin establishes, this is not true.

            Moreover, from a legal stand point, Guidances are prospective in nature absent a contrary

    instruction from the FDA. Doc. 201-5, Ex. 5, Lin Dec., ¶¶62-71. 10 The Draft Guidance itself

    states that its recommendations “apply to new drug applications (NDAs), abbreviated new drug

    applications (ANDAs), biologics license applications (BLAs), as well as new packaging

    supplement to these existing applications submitted to CDER and CBER.” Doc. 368-31, Pls. Ex.

    31, FDA Draft Guidance for Industry, Allowable Excess Volume and Labeled Vial Fill Size in

    Injectable Drug and Biologic Products, at 1 (March 2014). Here, there is no dispute that the BLA

    for Herceptin was approved more than 15 years before the 2014 Draft Guidance was issued.

            Finally, Plaintiffs’ argument ignores Herceptin’s approval history. The uncontroverted

    facts establish the FDA-approved BLA disclosed that although the protein content label claim was

    440 mg, the vials were intended to deliver only 400 mg, and that in 1999, the FDA drafted a letter




    Genentech’s Motion for Summary Judgment must be denied. Doc. 368 at 50. However, these
    arguments clearly go to the merits of Plaintiffs’ claims rather than the issue of preemption.
    10
      The Draft Guidance states that “[t]his draft guidance, when finalized, will represent the [FDA’s]
    current thinking on this topic. It does not create or confer any right for or on any person and does
    not operate to bind FDA or the public.” Doc. 368-31, Pls. Ex. 31, p. 1.
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    to providers explicitly referring to the fact that the vial was designed to deliver 400 mg. It was not

    until 2014 that the FDA raised concerns about the labeling of Herceptin, and although Genentech

    promptly submitted proposed revisions, the FDA waited until 2017 to respond to Genentech’s

    proposal. 11

            Accordingly, the Court declines to apply the FDA’s Draft Guidance retroactively.

                           c. Herceptin’s Protein Content Variations
                              Satisfied FDA Regulatory Requirements

            Net quantity labeling for solid drugs is governed by 21 C.F.R. § 201.51(g), which states:

            The declaration of net quantity of contents shall express an accurate statement of
            the quantity of contents of the package. Reasonable variations caused by loss or
            gain of moisture during the course of good distribution practice by unavoidable
            deviations in good manufacturing practice will be recognized. Variations from
            stated quantity of contents shall not be unreasonably large. In the case of a liquid
            drug in ampules or vials, intended for injection, the declaration shall be considered
            to express the minimum quantity and the variation of above the stated measure shall
            comply with the excess volume prescribed by the National Formulary or the U.S.
            Pharmacopeia for filling of ampules. In the case of a solid drug in ampules or vials,
            the declaration shall be considered to express the accurate net weight. Variations
            shall comply with the limitations provided in the U.S. Pharmacopeia or the
            National Formulary.

    (emphasis added). The regulatory history of Herceptin clearly establishes that the FDA considers

    it to be a solid drug. It is undisputed that the protein content of the Herceptin 440 mg vials has

    always been within the total protein specification of 440 mg ± 35 mg (405 mg to 475 mg) approved

    by the FDA. Thus, at all relevant times, Genentech complied with the unambiguous terms of

    Section 201.51(g).




    11
       Arguably, retroactive application of the 2015 Final Guidance to impose tort liability would
    violate due process. See United States v. AMC Entm’t, 549 F.3d 760, 768-70 (9th Cir. 2008)
    (rejecting retroactive application of government’s interpretation of ADA regulations to movie
    theaters).
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                           d. Herceptin Was Not “Adulterated”

           Plaintiffs argue that Herceptin is adulterated under 21 U.S.C. § 341 because “its strength

    differs from . . . that which it purports or is represented to possess.” Doc. 368 at pp. 45-46 (quoting

    Ex. 81, FDC Compliance Policy Guide (“CPG”) § 420.100). However, CPG § 420.100 provides:

    “[t]he applicable quality standards for a drug not recognized in an official compendium can be

    determined from such sources as the labeling of the drug (or drug product), the manufacturer’s

    written specifications, and new drug applications.” Id.

           In this case, the FDA-approved Prescribing Information does not state that Herceptin vials

    contain exactly 440 mg, but instead that they “nominally contain[] 44 mg Herceptin.” Doc. 201-

    1, Ex. 1 at 1 (emphasis added). Likewise, since at least April 2000, the carton label has stated that

    “[t]he nominal content of each HERCEPTIN vial is 440 mg Trastuzumab.” Doc. 201-7, Ex. 7

    (emphasis added).

                   3. Plaintiffs’ “Concentration” and “Solution Volume”
                      Claims Do Not Survive

           The Court rejects Plaintiffs’ arguments that Herceptin is a “liquid drug” rather than a “solid

    drug,” and that it should be subjected to the “liquid drug” requirement that the labeling “express

    the ‘minimum quantity’ as a measure of volume” instead of the “solid drug” requirement that the

    labeling “express accurate net weight” with USP-compliant variations. The undisputed facts

    establish that the FDA has always treated Herceptin as a solid drug, and has allowed reasonable

    variations as provided in the USP. Additionally, USP General Chapter ˂905˃, Uniformity of

    Dosage Units, provides for an allowable variation of 15% around the label claim. 21 C.F.R. §

    201.51(g). Def. Ex. 5, Lin Dec. ¶29, Ex. D to Lin Dec. at 491. Therefore, like their “net weight”

    claim, Plaintiffs’ “concentration” and “solution volume” claims also fail.

           Accordingly, Plaintiffs’ claims are barred by obstacle preemption.

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           B. Impossibility Preemption

           Plaintiffs contend Genentech could comply with its state law-based demands by changing

    either the manufacturing process or the labeling of Herceptin.

           Genentech, however, argues that Plaintiffs’ claims fail as a matter of law under the doctrine

    of impossibility preemption, because ensuring that each vial contains exactly (or at least) 440 mg,

    as Plaintiffs demand, would have required Genentech to change its manufacturing process, its

    protein content specification and its labeling, all of which would require prior FDA approval.

           It is undisputed that Genentech would be required to make changes to manufacturing and

    specifications—both necessitating prior FDA approval—to ensure that all Herceptin vials

    contained at least 440 mg. Changing the target fill weight, which is an in-process specification

    identified in the BLA, requires prior FDA approval. Doc. 377, Ex. 14, Lin Dep. at 141:1-25; 21

    C.F.R. § 601.12(b)(2)(i); 21 C.F.R. § 211.110(a)(1)(b) (referencing “in-process specifications”

    applicable to drug product “weight variation”); Doc. 377, Ex. 22, FDA Guidance for Industry,

    Changes to an Approved NDA or ANDA, Questions and Answers, at 9 (Jan. 2001) (“A change in

    the fill volume of a drug product involves a change to the specification and must be submitted in

    a prior approval supplement. . . .”). See also Gustavsen, supra (affirming district court’s dismissal

    of case asserting that eye drop manufacturer’s practice of using eye drop dispensers that emit

    unnecessarily large drops was unfair and resulted in unjust enrichment because the manufacturing

    changes plaintiffs sought would require prior FDA approval); Thompson v. Allergan U.S.A., Inc.,

    933 F. Supp. 2d 1007, 1013-14 (E.D. Mo. 2014) (granting motion to dismiss based on federal

    preemption because changing the fill volume in each vial of eye drops would require prior FDA

    approval).




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              Plaintiffs also suggest that Genentech could have changed from the originally approved

    static filling process to a variable filling method to ensure 440 mg per vial. Doc. 368 at 79 (citing

    Ex. 2, Ramirez Dec., ¶¶ 32-33). However, this would still require prior FDA approval because the

    manufacture of Herceptin is an aseptic (sterile) processing operation. Doc. 377, Ex. 17, GENE-

    FL0000000527-529, 555. Substituting steps in an aseptic processing operation is a “Major

    change” requiring prior FDA approval. 21 U.S.C. § 601.12(b)(2)(vi). Additionally, Defendant

    would be required to change the Herceptin labeling to reflect the change in diluent volume. See

    21 C.F.R. § 601.12(f)(1); Doc. 201, Ex. 5, Lin Dec., ¶¶ 75-76.

              Finally, Plaintiffs contend that Genentech could have changed its label to state the accurate

    concentration for reconstituted Herceptin solution. Changing the concentration stated on the label,

    however, would require FDA approval. 21 C.F.R. § 601.12(f)(1). Similarly, changing the

    concentration of the reconstituted drug product would also require FDA approval because it would

    have “a substantial potential to have an adverse effect on the . . . strength [and] potency” of

    Herceptin and affect the “safety or effectiveness of the product.” 21 C.F.R. § 601.12(b)(1) and

    (2)(i).

              C. Stop Selling

              Finally, Plaintiffs argue that Genentech could comply with state law by keeping its

    manufacturing process the same, but selling only those vials that contain at least 440 mg of

    trastuzumab. Doc. 368 at 68-69. This “stop-selling” argument, however, was squarely rejected in

    Mutual Pharmaceutical Co. v. Bartlett, 570 U.S. 472 (2013). There, the Supreme Court stated:

              Our pre-emption cases presume that an actor seeking to satisfy both his federal-and
              state-law obligations is not required to cease acting altogether in order to avoid
              liability. Indeed, if the option of ceasing to act defeated a claim of impossibility,
              impossibility pre-emption would be “all but meaningless.”




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            The incoherence of the stop-selling theory becomes plain when viewed through the
            lens of our previous cases. In every instance in which the Court has found
            impossibility pre-emption, the “direct conflict” between federal- and state-law
            duties could easily have been avoided if the regulated actor had simply ceased
            acting.

    Id. at 488 (quoting PLIVA, 564 U.S. at 620). The Court cited PLIVA as an obvious example:

            [T]he PLIVA Court held that the state failure-to-warn claims were preempted by
            the FDCA because it was impossible for drug manufacturers to comply with both
            the state-law duty to label their products in a way that rendered them reasonably
            safe and the federal-law duty not to change their drugs’ labels. It would, of course,
            have been possible for drug manufacturers like PLIVA to pull their products from
            the market altogether. In so doing, they would have avoided liability under both
            state and federal law: such manufacturers would neither have labeled their
            products in a way that rendered them unsafe nor impermissibly changed any
            federally approved label.

    Id. (citation omitted).

            Similarly, in this case, Genentech cannot be forced to stop selling vials that comply with

    FDA requirements in order to avoid liability under state law claims.

    V. Conclusion

            For the reasons set forth above, Defendant’s Motion for Summary Judgment Based on

    Federal Preemption (Doc. 201), is hereby granted.

            ENTERED this 20th day of March, 2019.


                                                          ________________________________
                                                          TERENCE C. KERN
                                                          United States District Judge




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